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7
                              UNITED STATES DISTRICT COURT
8                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

9
       DEAN ERLING,                                         NO. 2:21-cv-01246
10
                              Plaintiff,
11             vs.                                          COMPLAINT FOR DAMAGES FOR
                                                            PERSONAL INJURIES
12     UNITED STATES OF AMERICA,
13
                            Defendant.
14

15          COME NOW the Plaintiff, above-named, by and through his attorneys of record, Max
16
     Meyers Law PLLC and for cause of action against the Defendant, allege and state as follows:
17
     I. STATUS OF THE PARTIES
18
            1.1      Plaintiff Dean Erling resides in Snohomish, Washington.
19
            1.2      The Department of Homeland Security – Federal Protection Services (DHS) is an
20

21   agency of Defendant United States of America. The claims asserted herein against the DHS are

22   treated at law as claims against the United States of America.
23
     II. JURISDICTION AND VENUE
24
            2.1      On March 5, 2021, Plaintiff emailed federal tort claims to Camrin D. Emmons,
25
     Senior Administrative Specialist, Office of the General Counsel, U.S. Department of Homeland
26




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     COMPLAINT FOR DAMAGES                                              19515 N. Creek Pkwy, Ste. 204
     FOR PERSONAL INJURIES - 1 -                                               Bothell, WA 98011
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1
     Security, at ogc@HQ.DHS.GOV. A true and correct copy of the March 8, 2021 email from Frank
2
     R. Levi, Attorney Advisor – Federal Protective Services, with the DHS acknowledging receipt of
3

4
     the federal tort claims is attached as Exhibit A. The email from Frank R. Levi states that the tort

5    claims were received by the DHS on March 5, 2021, “which will serve as the official date of filing

6    in accordance with the Federal Tort Claims Act (FTCA).” In a second email on March 8, 2021
7
     Frank R. Levi states that that “Under the FTCA federal agencies have 6 months to review the claim
8
     during which time filing suit is prohibited.” A true and correct copy of the second March 8, 2021
9
     email from Frank R. Levi, Attorney Advisor – Federal Protective Services, is attached as Exhibit
10

11   B. More than six months have passed since March 5, 2021, and the Department of Homeland

12   Security has failed to respond to the tort claims other than the two emails from Frank Levi on
13   March 8, 2021. Pursuant to 28 U.S.C. § 2675(a), Plaintiff opts to deem the Department of
14
     Homeland Security’s failure to make a final disposition of the claims within six months after they
15
     were filed as a final denial of the claims and proceed with the filing of this lawsuit.
16
            2.2        The federal tort claims referenced above concerned the circumstances and injuries
17

18   alleged herein.

19          2.3        The United States District Court has original jurisdiction over the subject matter of
20
     the claims asserted herein against the United States of America (DHS).
21
            2.4        Venue for this matter exists in the United States District Court for the Western
22
     District of Washington at Seattle, because the Plaintiff reside within this judicial district, and the
23
     acts and omissions that are the subject matter of this lawsuit occurred within this judicial district.
24

25   ///

26   ///



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1    III. FACTS FORMING THE BASIS FOR LIABILITY
2
            3.1      September 17, 2019 was a typical fall day in Seattle, clouding and raining. Plaintiff
3
     Dean Erling was on his way to work at Starbucks headquarters. Since he commuted from
4
     Snohomish, Washington he rode his motorcycle to work as was his normal routine.
5
            3.2      On his way to work, shortly after 10:00 a.m., Mr. Erling was traveling westbound
6

7    on S. Lander Street in SODO. He came to a stop for a red light at the intersection of S. Lander

8    Street and E3 Busway. There was also a light rail train crossing at the same time and Mr. Erling
9
     was stopped behind the railroad crossing crossbar. The light train was traveling southbound on the
10
     eastside of the E3 Busway.
11
            3.3      At the same time, a DHS Ford SUV driven by Joseph Bawden was traveling
12

13
     northbound on the E3 Busway at a high rate of speed but without his emergency lights or sirens

14   on.

15          3.4      As Mr. Bawden approach the intersection of S. Lander Street and E3 Busway the
16
     light was yellow and turned red before he entered the intersection.
17
            3.5      Mr. Bawden unsafely accelerated to 45 MPH, in a 35 MPH zone, in an effort to
18
     beat the red light. Mr. Bawden failed to beat the red light as the light was red when he entered the
19

20
     intersection.

21          3.6      The railroad crossbar raised and then Mr. Erling saw his light turn green so he

22   proceeded to cross the intersection at S. Lander Street and E3 Busway, at which time his
23
     motorcycle was struck by the DHS SUV driven by Mr. Bawden.
24
            3.7      A video camera on the rear of the light rail train captured the collision. The DHS
25
     SUV driven by Mr. Bawden can be seen approaching the intersection and the traffic signal can be
26




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1    seen going from green, to yellow to red before he enters the intersection.
2
               3.8    Consistent with the video footage, eyewitness Philip Thangsombat stated that he
3
     believed Mr. Erling had the green light and Mr. Bawden was barreling through the intersection as
4
     a high rate of speed and hit the motorcycle.
5
               3.9    Joseph Bawden was acting within the course and scope of his employment with the
6

7    United States Department of Homeland Security on or about September 17, 2019 when he was

8    involved in the motor vehicle collision with Mr. Erling.
9
               3.10   RCW 46.61.050 provides as follows: “The driver of any vehicle, a person operating
10
     a bicycle, and every pedestrian shall obey, and the operation of every personal delivery device
11
     shall follow, the instructions of any official traffic control device applicable thereto, …”
12

13
               3.11   RCW 46.61.055 provides as follows: “Whenever traffic is controlled by traffic

14   control signals exhibiting different colored lights, or colored lighted arrows, successively one at a

15   time or in combination, only the colors green, red and yellow shall be used, except for special
16
     pedestrian signals carrying a word or legend, and said lights shall indicate and apply to drivers of
17
     vehicles, pedestrians, and personal delivery devices, as follows: …
18
               (3) Steady red indication
19

20
               (a) Vehicle operators facing a steady circular red signal alone shall stop at a clearly

21   marked stop line, but if none, before entering the crosswalk on the near side of the intersection

22   or, if none, then before entering the intersection control area and shall remain standing until an
23
     indication to proceed is shown.”
24
               3.12   Mr. Bawden failed to stop for a red light and failed yield the right of way to Mr.
25
     Erling.
26




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1           3.13     The negligence of DHS employee Joseph Bawden was a proximate cause of the
2
     collision and the resulting injuries and damages the Plaintiff.
3
            3.14     Defendant United States of America is liable for the negligence of DHS employee
4
     Joseph Bawden.
5
            3.15     Mr. Erling was thrown from his motorcycle as a result of the impact. His body was
6

7    thrown into the air and he landed on the pavement.

8           3.16     Mr. Erling suffered a type 3 open fracture of the tibia and fibia with a degloving
9
     wound of approximately 15 cm x 5 cm in size on his left lower leg; fracture of his right fibular
10
     head and LCL knee ligament rupture; and type 5 AC separation/dislocation of left shoulder. His
11
     leg fractures, knee, and shoulder injuries required surgical treatment. The left leg also required
12

13
     skin and muscle grafts. Mr. Erling also had injuries to his right wrist as well as cellulitis and

14   necrosis of left lower leg.

15   IV. DAMAGES
16
            4.1      As a direct and proximate result of Defendant’s tortious conduct, Plaintiff Dean
17
     Erling sustained injures, damages and losses, including but not limited to:
18
                  a. Economic
19

20
                        i.   Medical Expenses, both past and future;

21                    ii.    Loss of earnings, both past and future;

22                    iii.   Impairment of earning capacity;
23                    iv.    Other out-of-pocket expenses; and
24                     v.    Other recoverable economic damages, all in amounts to be proven at trial.
25
                  b. Non-economic
26
                        i.   Past and future pain;


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1                    ii.   Past and future physical and emotional suffering;
2                   iii.   Past and future disability;
3
                     iv.   Past and future disfigurement and scarring;
4
                     v.    Past and future loss of enjoyment of life;
5
                     vi.   Other recoverable non-economic damages, all in amounts to be proven at
6                          the time of trial.
7
     V. PRAYER FOR RELIEF
8
                   Based upon the foregoing, Plaintiffs pray for judgment against Defendant as
9
     follows:
10
                a. A judgment of liability against the Defendant for the Plaintiffs’ injuries and losses;
11

12              b. Compensation for all economic losses sustained by the Plaintiffs, past and future;

13              c. Compensation for all non-economic losses sustained by the Plaintiffs, past and
                   future;
14

15              d. Pre-judgment interest, to the extent permitted by law;

16              e. Reasonable and statutory attorney’s fees and costs to the extent permitted by law;
                   and
17
                f. Such other and further relief as the Court deems just.
18

19
            DATED this 13th day of September, 2021.
20
                                                  MAX MEYERS LAW PLLC
21
                                                  /s/ Max J. Meyers
22                                                Max J. Meyers, WSBA No. 28215
                                                  Max Meyers Law PLLC
23
                                                  19515 N. Creek Pkwy, Ste. 204
24                                                Bothell, WA 98011
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25                                                (425) 485-2467 Fax
                                                  max@maxmeyerslaw.com
26                                                Attorneys for Plaintiff


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                                               Exhibit A
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                                            Exhibit B
